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                              Infringement of Exemplary Claim 1 of U.S. Patent No. 8,711,580 (the ’580 patent)

The accused products include, but are not limited to, Vicor’s factorized power products , which include but are not limited to at least the following
models: PRM48AF480T400A00, PRM48AH480T200A00, PRM48BH480T200B00, PRM48BH480T250A00, PRM48JH480T250A00,
PRM48JH480T250A02,           PRM48BF480T400B00,              PRM48BF480T500A00,            PRM48JF480T500A00,             PRM48BF480T600A00,
PRM2313S60E54H0T00,           VTM48EF012T130C01,              VTM48EF030T070A00,           VTM48EF040T050B00,             VTM48EF040T050B0R,
VTM48EH040T025B00,            VTM48EF060T040A00,             VTM48EF080T030A00,              VTM48EF096T025A00,             VTM48EF120T025A00,
VTM48EF120T025A0R,            VTM48EH120T010B00,             VTM48EF160T015A00,              VTM48EF240T012A00,             VTM48EF320T009A00,
VTM48EF480T006A00,            VTM2308S60Z0825TZ0,            VTM2308S60Z1513TZ0,             VTM48EF012T130A00,             VTM48EF012T130C01,
VTM48EF030T070A00,            VTM48EF040T050B00,             VTM48EF040T050B0R,              VTM48EH040T025B00,             VTM48EF060T040A00,
VTM48EF080T030A00,          VTM48EF096T025A00,         VTM48EF120T025A00,      VTM48EF120T025A0R,          VTM48EH120T010B00,
VTM48EF160T015A00,          VTM48EF240T012A00,        VTM48EF320T009A00,       VTM48EF480T006A00,         VTM2308S60Z0825TZ0,
VTM2308S60Z1513TZ0. (See generally PRM Regulator and VTM Current Multiplier, Factorized Power – Flexible DC-DC Converter Solutions,
available at https://www.vicorpower.com/documents/family_overviews/fo_PRM-Module-VTM-Current-Multiplier.pdf), and other of Vicor’s
VTM and PRM modules. A chart of exemplary claim 1 against exemplary VTM48EF060T040A00 and PRM48AF480T400A00 provided
together in an end system is provided below.

Annotations and identification of elements in this chart are preliminary, are not final, nor are they intended to limit Plaintiff’s identification of
claim elements in Vicor’s infringing products. Furthermore, VTM48EF060T040A00 and PRM48AF480T400A00 and claim 1 have been
provided as representative, and Plaintiff reserves the right to identify additional products and claims, and identify further representative products.
Plaintiff reserves the right to amend, supplement, expand, modify, or narrow its identifications in the accused products as it develops facts during
discovery, based on the Court’s claim constructions, or for any other allowable purpose in this action.
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         8,711,580                                   VTM48EF060T040A00 and PRM48AF480T400A00
1. A resonant conversion    The VTM48EF060T040A00 and PRM48AF480T400A00 provide a resonant conversion system.
system, comprising




                            (VTM48Ex060y040A00 datasheet at 1.)


a resonant converter,         The VTM48EF060T040A00 and PRM48AF480T400A00 provide a resonant converter, receiving an input
receiving an input voltage to voltage to generate an output voltage.
generate an output voltage;
                              The VTM48EF060T040A00 is a resonant converter, which receives an input voltage to generate an output
                            voltage.
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                                (VTM48Ex060y040A00 datasheet at 12.)
a buck converter, providing     The VTM48EF060T040A00 and PRM48AF480T400A00 provide a buck converter, providing the input voltage
the input voltage and           and controlling the input voltage for performing an over-current protection process.
controlling the input voltage
for performing an over-         The PRM48AF480T400A00 is a buck converter that provides the input voltage to a VTM (e.g.,
current protection process;     VTM48EF060T040A00).
and
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                                 (PRM48Ay480x400A00 Datasheet at 1-2.)


a first controller, decreasing   The VTM48EF060T040A00 and PRM48AF480T400A00 provide a first controller, decreasing a duty cycle of a
a duty cycle of a switching      switching device of the buck converter to decrease the input voltage received by the resonant converter, when the
device of the buck converter     resonant converter generates the over-current.
to decrease the input voltage
received by the resonant      The PRM48AF480T400A00 is a buck converter, which modulates duty cycles to increase/decrease output
converter, when the           voltage (the input voltage to the VTM48EF060T040A00).
resonant converter generates
the over-current,




                                 (PRM48Ay480x400A00 Datasheet at 1.)
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       (Curatolo at 3, Factorized Power Architecture: Achieving high density and efficiency in board mounted power,
       available at https://www.vicorpower.com/documents/whitepapers/wp-FPA-Achieving-high-density-efficiency-
       VICOR.pdf.)


       The PRM48AF480T400A00 decreases the output voltage when an over-current is reached, e.g., when a current
       limit is reached.




       (PRM48Ay480x400A00 Datasheet at 33.)
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wherein, when an output         The VTM48EF060T040A00 and PRM48AF480T400A00 provide wherein, when an output current exceeds a
current exceeds a first         first predetermined current, the first controller determines that the resonant converter generates the over-current,
predetermined current, the      and restricts the output current of the resonant converter in the first predetermined current or in a second
first controller determines     predetermined current higher than the first predetermined current.
that the resonant converter
generates the over-current,     The PRM48AF480T400A00 determines when the output current exceeds a pre-programmed current limit (the
and restricts the output        brick-wall limit), and reduces the output voltage to prevent it from crossing that limit.
current of the resonant
converter in the first
predetermined current or in
a second predetermined
current higher than the first
predetermined current.




                                (PRM48Ay480x400A00 Datasheet at 33.)
